Case 6:21-cr-06063-CJS-MWP Document 1 Filed 11/16/20 Page 1 of 8




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                         16


  November 16, 2020
Case 6:21-cr-06063-CJS-MWP Document 1 Filed 11/16/20 Page 2 of 8
Case 6:21-cr-06063-CJS-MWP Document 1 Filed 11/16/20 Page 3 of 8
Case 6:21-cr-06063-CJS-MWP Document 1 Filed 11/16/20 Page 4 of 8
Case 6:21-cr-06063-CJS-MWP Document 1 Filed 11/16/20 Page 5 of 8
Case 6:21-cr-06063-CJS-MWP Document 1 Filed 11/16/20 Page 6 of 8
Case 6:21-cr-06063-CJS-MWP Document 1 Filed 11/16/20 Page 7 of 8
Case 6:21-cr-06063-CJS-MWP Document 1 Filed 11/16/20 Page 8 of 8




                                             16
